                                        Case 22-02017                 Doc 9         Filed 08/12/22              Page 1 of 5
                                                                United States Bankruptcy Court
                                                                Middle District of North Carolina
Corbett,
      Plaintiff                                                                                                           Adv. Proc. No. 22-02017-bak
Towriffic Towing & Recovery,
      Defendant
                                                       CERTIFICATE OF NOTICE
District/off: 0418-2                                                     User: admin                                                                 Page 1 of 1
Date Rcvd: Aug 10, 2022                                                  Form ID: pdf014                                                            Total Noticed: 1
The following symbols are used throughout this certificate:
Symbol          Definition
+                   Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                    regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Aug 12, 2022:
Recip ID                   Recipient Name and Address
pla                      + Mya Deionshai Corbett, 1183 University dr #105227, Burlington, NC 27215-8303

TOTAL: 1

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI).
NONE


                                                         BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID            Bypass Reason Name and Address
dft                               Oaktree Finance LLC
dft                               Towriffic Towing & Recovery

TOTAL: 2 Undeliverable, 0 Duplicate, 0 Out of date forwarding address


                                                        NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Aug 12, 2022                                              Signature:            /s/Gustava Winters




                                     CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on August 10, 2022 at the address(es) listed
below:
Name                                 Email Address
David Walker, II
                                     on behalf of Defendant Oaktree Finance LLC steven@walkerkiger.com

William P. Miller
                                     bancm_ecf@ncmba.uscourts.gov


TOTAL: 2
                   Case 22-02017        Doc 9   Filed 08/12/22    Page 2 of 5
SO ORDERED.

SIGNED this 10th day of August, 2022.




                         UNITED STATES BANKRUPTCY COURT
                       MIDDLE DISTRICT OF NORTH CAROLINA
                              GREENSBORO DIVISION

   In re:                             )
                                      )
   Mya Deionshai Corbett,             )                   Chapter 13
                                      )                   Case No. 22-10293
        Debtor.                       )
   ___________________________________)
                                      )
   Mya Deionshai Corbett              )
                                      )
        Plaintiff,                    )
                                      )
   v.                                 )                   Adv. No. 22-02017
                                      )
   Towriffic Towing & Recovery and    )
   Oaktree Finance LLC                )
                                      )
        Defendant.                    )

      ORDER DIRECTING DEBTOR TO SHOW CAUSE WHY ADVERSARY PROCEEDING
                SHOULD NOT BE DISMISSED WITHOUT PREJUDICE

         This adversary proceeding is before the Court on the Motion

   to Dismiss Adversary Proceeding filed by Defendant Oaktree

   Finance LLC.      ECF No. 6.    The bankruptcy case was dismissed on

   July 27, 2022.      Case No. 22-10293, ECF No. 33.            Defendant

   Towriffic Towing & Recovery has not appeared.

         Debtor’s complaint seeks turnover of her vehicle under 11

                                            1
               Case 22-02017     Doc 9    Filed 08/12/22   Page 3 of 5



U.S.C. § 542 1 and monetary damages, and the Court possessed

jurisdiction over this proceeding under 28 U.S.C. § 1334(b).

After dismissal of the underlying bankruptcy case, the Court has

discretion whether to retain jurisdiction over an adversary

proceeding.    In re T 2 Green, LLC, 364 B.R. 592, 603 (Bankr.

D.S.C. 2007).     In exercising this discretion, “courts weigh the

following factors: judicial economy, convenience to the parties,

fairness, and comity.”      Id. (and cases cited therein).         Having

considered these factors, it appears that the Court should not

retain jurisdiction for a turnover action after Debtor’s chapter

13 case has been dismissed.       In the interests of comity with the

state courts, and since any recovery under any claims Debtor may

assert cannot affect the administration of the dismissed

bankruptcy case, the Court further is inclined to dismiss those

claims without prejudice to Debtor seeking relief in any court

of competent jurisdiction.

      NOW, THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, and DECREED

that, to the extent Plaintiff maintains that this Court should

retain jurisdiction over this adversary proceeding, Plaintiff

shall file a response to the Motion to Dismiss and this Order on


1 Debtor is appearing pro se. The complaint also states that Debtor is
seeking recovery under 11 U.S.C. § 548 for a putative fraudulent transfer and
dischargeability under 11 U.S.C. § 523(a)(2) for fraud, false pretenses, and
false representations. It appears that Debtor intends to assert a claim for
fraud, rather than seeking to except any debt from any discharge Debtor may
have received in this case, or to recover a transfer of debtor’s property as
a fraudulent transfer by the debtor.

                                      2
                Case 22-02017   Doc 9    Filed 08/12/22   Page 4 of 5



or before August 25, 2022 and show cause why the Court should not

dismiss   the   adversary   proceeding    for   all   defendants   without

prejudice due to the dismissal of the underlying bankruptcy case.

If a timely response is filed, the Court will conduct a hearing on

September 7, 2022, at 2:00 p.m. in Courtroom No. 1, United States

Bankruptcy Court, 101 S. Edgeworth Street, Greensboro, NC 27401.

If no response is timely filed, the Court will enter an order

dismissing the adversary proceeding without prejudice.

                            [END OF DOCUMENT]




                                    3
            Case 22-02017   Doc 9   Filed 08/12/22   Page 5 of 5



                      Parties to be Served
                            21-02009

All parties to this Adversary Proceeding.




                                4
